
The Court
(Duckett, J., absent,)
admitted Evans as a witness for Lewis, on the issue as to the identity of the articles of agreement, and referred to the cases of Harper v. Smith, July, 1808, in this court, [ante, 495,] and Riddle v. Moss, in this court; and United States v. Paroling, in the Supreme Court of the United States, 4 Cranch, 219.
The jury not being able to agree at July term, 1809, were discharged, and the cause was continued.
The CouRT said, they had in several cases decided that one joint obligor may be a witness for another when they plead separately. As to one swearing for another, perjury may be committed in any case; but the question is, whether there is such an interest as to disqualify the witness. The principal has no interest to exonerate his sureties, because he himself is liable at all events, either to the Governor of Virginia, or to the sureties. But the sureties are not witnesses for Evans, because if they can prove he has performed all the articles of the agreement they discharge themselves.
John V. Thomas, another of the sureties, was examined in behalf of Lewis on the issue joined by the other surety, Lewis, but not on the issue on the part of Evans. The plaintiff’s counsel objected, but the objection was overruled.
*583Mr. Thomas Swann, who was surety for the costs, was offered as a -witness on the part of the plaintiff. This was objected to by the defendant.
Mr. E. J. Lee offered to become surety for the costs, which had accrued or may accrue, and moved that Mr. Swann may be discharged, to which the Court assented, and such an order having been made, Mr. Swann was permitted to testify.
Thomas Davis, another of the sureties, was examined in behalf of Lewis and Thomas, but not of Evans.
Verdict for the defendants, Lewis and Thomas, on the issues joined on their part; and for the plaintiff on the issues joined on the part of Evans the principal.
